        Case 4:21-mc-80181-JST Document 63 Filed 11/21/22 Page 1 of 3



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14                                                    Zuklie
                                   UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16

17    JONES DAY,                                           Case No. 21-mc-80181-JST

18                       Petitioner,

19           v.                                            JOINT STATUS REPORT
20    ORRICK, HERRINGTON & SUTCLIFFE
      LLP, et al.,
21

22                       Respondents.
23           Petitioner Jones Day and Respondents Orrick Harrington & Sutcliffe, LLP, Michael
24    Torpey, and Mitchell Zuklie (collectively, “Orrick,” and with Jones Day, the “Parties”)
25    respectfully submit the following Joint Status Report.
26                1. On September 8, 2022, this Court ordered the Parties to meet and confer on the
27    form of an order that complies with the mandate of the Court of Appeals for the Ninth Circuit
28    remanding this case “with instructions to enforce Jones Day’s petitions to compel Orrick and its
                                                                                       Joint Status Report
                                                     -1-                            No. 21-mc-80181-JST
       Case 4:21-mc-80181-JST Document 63 Filed 11/21/22 Page 2 of 3



 1   partners to comply with the arbitral summonses.” Dkt. No. 56 (quoting Jones Day v. Orrick,

 2   Herrington & Sutcliffe, LLP, 42 F.4th 1131, 1142 (9th Cir. 2022)). The order instructed the

 3   Parties to file either a joint proposed order or competing proposed orders within 14 days. Id.

 4              2. The Parties met and conferred on September 13, 2022. The Parties agreed that

 5   new summonses must be issued by the arbitrator to amend the now expired hearing date before

 6   any compliance is either required or possible. In requesting new summonses, Jones Day agreed

 7   to consider narrowing the scope of its requests.

 8              3. On September 22, 2022, the Parties filed a Joint Status Report advising that the

 9   arbitrator issued an Interim Award on September 9, 2022, the record in the arbitration would

10   remain open, and the arbitrator would schedule further proceedings regarding damages and the

11   arbitral summonses. Dkt. No. 57. Jones Day further advised that the arbitrator would meet with

12   the arbitral parties (which do not include Orrick) on September 30, 2022, to discuss the Interim

13   Award and the arbitral summonses. Id. In light of the September 30 arbitral hearing, the Parties

14   requested that this Court defer further action on the summonses until October 13, 2022. Id.

15              4. On September 23, 2022, this Court ordered that the Parties submit a Joint Status

16   Report on or before October 13, 2022, updating the Court on the status of the issuance of the

17   summonses and proposing next steps in light of the Ninth Circuit’s mandate. Dkt. No. 58.

18              5. On October 21, 2022, the arbitrator issued new summonses, which Jones Day

19   served on Orrick through its counsel the same day. The summonses call for the recipients’

20   attendance at a hearing scheduled for December 16, 2022.

21              6. On November 2, 2022, the Parties filed a further Joint Status Report, advising the

22   Court that the Parties were in the process of meeting and conferring about the scope of the

23   summonses and requesting that the Court defer further action until November 21, 2022.

24              7. On November 4, 2022, the Court ordered the Parties to submit a Joint Status

25   Report by November 21, 2022. Dkt. No. 62.

26              8. The Parties continue to meet and confer about the summonses. That process has

27   been productive, and the Parties anticipate reaching agreement about the manner and scope of

28   Orrick’s compliance.
                                                                                       Joint Status Report
                                                    -2-                             No. 21-mc-80181-JST
       Case 4:21-mc-80181-JST Document 63 Filed 11/21/22 Page 3 of 3



 1              9. In light of the foregoing, the Parties respectfully request that this Court defer

 2   further action until December 19, 2022 (i.e., the business day following the hearing date in the

 3   summonses). By that date, the Parties will submit a joint status report updating the Court on

 4   developments and proposing next steps in light of the Ninth Circuit’s mandate.

 5
     Dated: November 21, 2022                         Respectfully submitted,
 6

 7                                                     /s/ Craig E. Stewart
 8                                                    Craig E. Stewart
                                                      JONES DAY
 9
                                                      Counsel for Petitioner Jones Day
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11
                                                       /s/ L. Christopher Vejnoska
12
                                                      L. Christopher Vejnoska
13                                                    ORRICK, HERRINGTON & SUTCLIFFE LLP
14
                                                      Counsel for Respondents Orrick Herrington &
15                                                    Sutcliffe, LLP, Michael Torpey, and Mitchell
                                                      Zuklie
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                                                                                         Joint Status Report
                                                     -3-                              No. 21-mc-80181-JST
